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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA



      v.                                           21-78 (RCL)




JOHN SULLIVAN

                MOTION FOR RELEASE PENDING APPEAL

      Defendant, John Sullivan, by and through undersigned counsel, does

hereby respectfully request that he be released from incarceration pending

appeal. In support thereof, defendant sets forth as follows:

      1. Defendant is scheduled to be sentenced on April 26, 2024 before

this Court following a trial by jury for, inter alia, a violation of 18 U.S.C.

Section 1512 (c) and other lesser charges.

      2. Defendant notes that this case represents his only criminal

conviction. He has a verified address in the State of Utah with his parents.

His father is a retired career military officer, and his mother is a

homemaker. Defendant’s parents will be at his sentencing to address any

questions the Court may have concerning his housing status. Defendant




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has submitted numerous letters of personal reference from family members

and friends attesting to his good character.

      3. Defendant was successful while on personal recognizance pending

trial. There is nothing in his background to in any manner suggest he is a

risk of flight. Appropriate restrictions can be placed on his computer access

in the event that he is released pending appeal.

      4. The legal standard for release pending appeal clearly should be

construed in defendant’s favor. 18 U.S.C. Section 3143 (b)(1) reads in

relevant part as follows:

            The judicial officer shall order that a person who has
            been found guilt of an offense…be detained, unless the
            Judicial officer finds----

            (A) by clear and convincing evidence that the person
            is not likely to flee or pose a danger to the safety to any
            other person or the community if released...and

            (B) that the appeal is not for the purpose of delay and
            raises a substantial question of law or fact likely to
            result in—

                  (i) reversal;

                  (ii) an order for a new trial;

                  (iii) a sentence that does not include a term of
                  imprisonment less than the total pf the time already
                  served plus the expected duration of the appeal
                  process.




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      Fischer v. United States, Docket Number 23-5572, a case arising out

of the events of January 6, 2021, was argued before the United States

Supreme Court on April 16, 2024. The issue in Fischer relates to whether

18 U.S.C. Section 1512 (c) and the felony charge of obstructing an official

proceeding was properly used against defendants charged in regard to the

events of January 6, 2021 at the United States Capitol.

      The issue in Fischer absolutely is present in this matter. Defendant

raised a challenge to 18 U.S.C. Section 1512 (c) in pretrial proceedings

before this Court. The issue was denied by this Court, and it will be part of

defendant’s appeal of his convictions.

      Obviously, no one knows how the Supreme Court will rule in Fischer.

However, what is definitely known is that the United States Supreme Court

granted a Petition for Writ of Certiorari related to 18 U.S.C. Section 1512(c)

in the precise context raised by defendant in this matter. The United States

Supreme Court heard oral argument regarding the issue and resolution of

the issue is forthcoming. Therefore, it is beyond question that the United

States Supreme Court considers the 1512 (c) issue to be a substantial

question of law that needs to be resolved.

      In order to meet the standard of a substantial question of law, a

defendant “need not show a likelihood success on appeal.” United States v.


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Garcia, 340 F.3d 1013, 1020 n.5 (9th Cir. 2003). Rather, he need only show

that his appeal presents a “close question or one that very well could be

decided the other way.” United States v. Steinhorn, 927 F.2d 195,196 (4th

Cir. 1991), quoting United States v. Giancola, 754 F. 2d 898, 90 (11th Cir.

1985).

      In United States v. Quinn, Judge Bates wrote that, “With respect to

the further requirement of 18 U.S.C. Section 3143 (b)(1)(B) that the

substantial question be likely to result in---reversal [or] an order for a new

trial, it is clear that this requirement precludes release pending appeal

only where the alleged error might be deemed harmless or

unprejudicial.” 416 F. Supp.2d 133,136 (D.D.C. 2006), internal questions

and citations omitted, emphasis supplied.

      In describing a “substantial question” in a different context the

Supreme Courft has stated:

             In requiring questions of some substance…obviously
             the petitioner need not show that he should prevail
             on the merits. He has already failed in that endeavor.
             Rather, he must demonstrate that the issues are debatable
             among jurists of reason, that a court could resolve the
             issues in a different manner; or that the questions are ade-
             quate to deserve encouragement to proceed further.

Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983), internal questions and
citations omitted.




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      In United States v. Ring, a case arising out of the Jack Abramoff

indictment, the district court granted release pending appeal because it

recognized the case raised novel and difficult questions about federal

statutes. The district agreed that, even though it believed the defendant’s

convictions were sound, the “challenging and novel questions of law…”

raised substantial issues that justified release pending appeal. ORDER,

United States v. Ring, No. 08-CR-274 (D.D.C. Oct. 26, 2010) Docket 297.

      The “substantial question” standard does not require the district court

to find that it committed reversible error. See. United States v. Pollard, 778

F.2d 1177, 1181-82 (6th Cir. 1985), Rather, as the United States Court of

Appeals for the District of Columbia Circuit has made clear, Section 3143

(b) simply requires the district court to find a single one of defendant's

issues on appeal presents a “close question or one that very well could be

decided the other way.” United States v. Perholtz, 836 F.2d 554, 555 (D.C.

Cir. 1987).

      John Sullivan has raised a substantial issue of law related to 18

U.S.C. Section 1512 (c). The United States Supreme Court has agreed and

a decision on the issue is pending before the Supreme Court. Mr. Sullivan

is a first-time offender and the decision from the Supreme Court may very

well affect and alter significant sentencing considerations before this Court.


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The 1512 (c) count is the most serious count before this Court and

defendant has to date served in excess of 5 months of incarceration under

very difficult circumstances.

      WHEREFORE, the foregoing considered, defendant prays this

Honorable Court for release pending appeal.

                                   Respectfully submitted,


                                   ______/s/___________________

                                   Steven R. Kiersh#323329
                                   5335 Wisconsin Avenue, N.W.
                                   Suite 440
                                   Washington, D.C. 20015
                                   (202) 347-0200

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and accurate copy of the foregoing
was served, via the Court’s electronic filing system, upon all counsel of
record on this the 21st day of April 2024.



                                   _______/s/__________________
                                   Steven R. Kiersh




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